             Case 4:17-cv-00660-JLH Document 16 Filed 01/18/18 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                LITTLE ROCK DIVISION


KATELYN WEBB, et. al.,                                                             PLAINTIFFS

v.                               CASE NO. 4:17-CV-00660-JLH

CHELSEA SMITH, et. al.,                                                          DEFENDANTS

          DEFENDANTS’ MOTION TO DISMISS FIRST AMENDED COMPLAINT

        For their Motion to Dismiss Plaintiffs’ Amended Complaint, Defendants state as follows:

        1.      Plaintiffs Katelyn Webb, Jerimey Lay, and Tabitha Lay filed a class action

Complaint alleging that Defendants failed to provide Plaintiffs with a prompt post-deprivation

hearing in violation of Plaintiffs and their children’s constitutional rights. (D.E. 12). The

Complaint alleges that Ark. Code Ann. §12-18-1001(b) and §9-27-314(b) are unconstitutional.

Id. Plaintiffs seek class certification based on violation of the Fourteenth Amendment rights in

connection with child-maltreatment investigations which resulted in the removal of the

Plaintiffs’ minor children from their homes. Id. Plaintiffs brought various claims pursuant to 42

U.S.C. § 1983 and sought compensatory damages, punitive damages, declaratory and injunctive

relief, and attorneys’ fees.

        2.      Defendants should be granted qualified immunity on Plaintiffs’ claims. As a

matter of law, Defendants’ participation in the investigation is not a constitutional violation. In

addition, and in any event, the removal of the children did not violate the Plaintiffs’ clearly

established rights.

        3.      A brief in support of this motion is being filed contemporaneously with this

motion.

        WHEREFORE, Defendants respectfully requests that the Complaint be dismissed.
Case 4:17-cv-00660-JLH Document 16 Filed 01/18/18 Page 2 of 3



                                  Respectfully submitted,

                                  Leslie Rutledge
                                  Attorney General

                           By:    /s/ Maryna O. Jackson
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                              2
         Case 4:17-cv-00660-JLH Document 16 Filed 01/18/18 Page 3 of 3



                              CERTIFICATE OF SERVICE

       I, Maryna O. Jackson, Assistant Attorney General, hereby certify that on January 18,
2018, I electronically filed the foregoing with the Clerk of Court using the CM/ECF system,
which shall send notification of such filing to any CM/ECF participants.

                                                 /s/ Maryna O. Jackson
                                                 Maryna O. Jackson




                                            3
